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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


 AMGEN INC. and
 LES LABORATOIRES SERVIER

                        Plaintiffs,
                 v.
                                                               Civil Action No. _______
 ZYDUS PHARMACEUTICALS (USA) INC.
 and CADILA HEALTHCARE LTD.

                        Defendants,


                      COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiffs Amgen Inc. (“Amgen”) and Les Laboratoires Servier (“Servier,” and collectively

with Amgen, “Plaintiffs”) bring this action for patent infringement against Zydus Pharmaceuticals

(USA) Inc. (“Zydus”) and Cadila Healthcare Ltd. (“Cadila,” and collectively with Zydus,

“Defendants”).

                                  NATURE OF THE ACTION

               This is a civil action for patent infringement arising under the patent laws of the

United States, 35 U.S.C. § 1, et seq., and in particular under 35 U.S.C. § 271. This action relates

to Abbreviated New Drug Application (“ANDA”) No. 213442, filed by and for the benefit of

Defendants with the United States Food and Drug Administration (“FDA”). Through ANDA No.

213442, Defendants seek approval to market generic versions of Corlanor® (ivabradine) 5 mg and

7.5 mg tablets (the “Proposed ANDA Product”), prior to the expiration of U.S. Patent Nos.

7,361,649 (“the ’649 Patent”), 7,361,650 (“the ’650 Patent”), 7,867,996 (“the ’996 Patent”), and

7,879,842 (“the ’842 Patent”) (collectively, “the Patents-in-Suit”).




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                                        THE PARTIES

               Plaintiff Amgen is a corporation organized and existing under the laws of Delaware,

having a principal place of business at One Amgen Center Drive, Thousand Oaks, California

91320-1799. Amgen discovers, develops, manufactures, and sells innovative therapeutic products

based on advances in molecular biology, recombinant DNA technology, and chemistry.

               Plaintiff Servier is a corporation organized and existing under the laws of France,

having a principal place of business at 50 Rue Carnot, 92284 Suresnes Cedex, France. Servier is

part of the Servier Group. Servier Group discovers, develops, manufactures, and sells innovative

therapeutic products and is governed by a non-profit foundation.

               On information and belief, Defendant Zydus is a corporation organized and existing

under the laws of New Jersey, having a principal place of business at 73 Route 31 North,

Pennington, New Jersey 08534.

               On information and belief, Defendant Cadila is a corporation organized and

existing under the laws of India, having a principal place of business at Zydus Tower, Satellite

Cross Roads, Ahmedabad-380 015, Gujarat, India.

               On information and belief, Zydus is a wholly owned-subsidiary of Cadila.

               On information and belief, Defendants collaborate with respect to the development,

regulatory approval, marketing, sale, and/or distribution of pharmaceutical products. On further

information and belief, Defendants are agents of each other and/or operate in concert as integrated

parts of the same business group.

               On information and belief, Zydus acts as the U.S. agent for Cadila for the purposes

of regulatory submissions to the FDA in seeking approval for regulatory drugs.




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                On information and belief, Defendants acted in concert to develop the Proposed

ANDA Product that is the subject of ANDA No. 213442 and to seek regulatory approval from the

FDA to market and sell the Proposed ANDA Product throughout the United States, including

within this District.

                Defendants’ ANDA No. 213442 seeks approval to commercially manufacture, use,

offer for sale, sell, and/or import a generic version of Amgen’s Corlanor® (ivabradine) tablets prior

to the expiration of the Patents-in-Suit.

                On information and belief, Defendants intend to act collaboratively to obtain

approval for Defendants’ ANDA No. 213442, and, in the event the FDA approves that ANDA, to

commercially manufacture, use, offer for sale, sell, and/or import the Proposed ANDA Product.

                                 JURISDICTION AND VENUE

                This is an action for patent infringement under the patent laws of the United States,

Title 35, United States Code, arising out of the submission of Defendants’ ANDA No. 213442 to

the FDA.

                This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§§ 1331 and 1338(a), and 35 U.S.C. § 1 et seq.

                This Court has personal jurisdiction over Zydus because, on information and belief,

Zydus is a corporation organized and existing under the laws of New Jersey.

                This Court has personal jurisdiction over Cadila because, inter alia, it has

maintained continuous and systematic contacts with this District and availed itself of the privilege

of doing business in this District. On information and belief, Cadila has acted in concert with

Zydus: (1) to file ANDA No. 213442 seeking approval to commercially manufacture, use, offer

for sale, sell, and/or import the Proposed ANDA Product in the United States, including in this



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District; (2) regularly and continuously transacted business within this District, including by

selling pharmaceutical products in this District either on its own or through its affiliates; and (3)

derived substantial revenue from the sale of those products in this District. Alternatively, this

Court has personal jurisdiction over Cadila pursuant to Federal Rule of Civil Procedure 4(k)(2)(A).

                On information and belief, if ANDA No. 213442 is approved, the Proposed ANDA

Product charged with infringing the Patents-in-Suit will be marketed, distributed, offered for sale,

and/or sold in this District, prescribed by physicians practicing in this District, dispensed by

pharmacies located within this District, and/or used by patients in this District, all of which would

have a substantial effect on this District.

                This Court also has personal jurisdiction over Defendants because they have

affirmatively availed themselves of the jurisdiction of this Court through the assertions of

counterclaims in suits brought in this District and by being sued in this District without challenging

personal jurisdiction.     See, e.g., Takeda Pharmaceutical Company Limited et al. v. Zydus

Pharmaceuticals (USA) Inc. et al., Civil Action No. 18-11792 (D.N.J.); Celgene Corporation v.

Zydus Pharmaceuticals (USA) Inc. et al., Civil Action No. 17-2528 (D.N.J.); Otsuka

Pharmaceutical Co., Ltd. et al. v. Zydus Pharmaceuticals (USA) Inc. et al., Civil Action No. 17-

2754 (D.N.J.); Helsinn Healthcare S.A. v. Zydus Pharmaceuticals (USA) Inc. et al., Civil Action

No. 16-4239 (D.N.J).

                For the reasons set forth above, and for additional reasons which will be supplied

if Defendants challenge personal jurisdiction in this action, Defendants are subject to personal

jurisdiction in this District.

                Venue is proper in this District for Zydus pursuant to 28 U.S.C. § 1400(b) because

Zydus is a corporation organized and existing under the laws of New Jersey.



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                Venue is proper in this District for Cadila pursuant to 28 U.S.C. § 1391(c) because,

inter alia, Cadila is a corporation organized and existing under the laws of the Republic of India

and is subject to personal jurisdiction in this District.

                                     THE PATENTS-IN-SUIT

                The Patents-in-Suit are assigned to Servier and exclusively licensed to Amgen.

                The ’649 Patent, entitled “-Crystalline Form of Ivabradine Hydrochloride, a

Process for Its Preparation and Pharmaceutical Compositions Containing It,” was duly and legally

issued on April 22, 2008. A copy of the ’649 Patent is attached as Exhibit A.

                The ’650 Patent, entitled “-Crystalline Form of Ivabradine Hydrochloride, a

Process for Its Preparation and Pharmaceutical Compositions Containing It,” was duly and legally

issued on April 22, 2008. A copy of the ’650 Patent is attached as Exhibit B.

                The ’996 Patent, entitled “-Crystalline Form of Ivabradine Hydrochloride, a

Process for Its Preparation and Pharmaceutical Compositions Containing It,” was duly and legally

issued on January 11, 2011. A copy of the ’996 Patent is attached as Exhibit C.

                The ’842 Patent, entitled “Beta-Crystalline Form of Ivabradine Hydrochloride, a

Process for Its Preparation and Pharmaceutical Compositions Containing It,” was duly and legally

issued on February 1, 2011. A copy of the ’842 Patent is attached as Exhibit D.

                                   FACTUAL BACKGROUND

                                       Corlanor® (ivabradine)

                Corlanor® (ivabradine) is a drug used to treat certain cases of chronic heart failure.

In chronic heart failure, a person’s heart does not adequately supply the body with blood, causing

fatigue and weakness. Corlanor® can reduce a patient’s risk of being hospitalized due to heart

failure.


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               Amgen is the holder of approved New Drug Application (“NDA”) No. 20-6143 for

Corlanor® (ivabradine) tablets. Pursuant to NDA No. 20-6143, Amgen markets and distributes

Corlanor® (ivabradine) tablets in the United States. Corlanor® is available in 5 mg and 7.5 mg

tablets.

               Corlanor® (ivabradine) tablets, the active pharmaceutical ingredient ivabradine, the

method of manufacture, and/or their use are covered by one or more claims of the Patents-in-Suit.

The Patents-in-Suit have been listed for NDA No. 20-6143 in the FDA publication Approved Drug

Products with Therapeutic Equivalence Evaluations, which is also known as the “Orange Book.”

                                Defendants’ ANDA No. 213442

               In a letter dated December 5, 2019 (the “Notice Letter”), Defendants stated that

they had submitted ANDA No. 213442 to the FDA seeking approval to commercially manufacture,

use, offer for sale, sell, and/or import the Proposed ANDA Product prior to the expiration of the

Patents-in-Suit. The Notice Letter further stated that ANDA No. 213442 contained a certification

pursuant to 21 U.S.C. § 355(j)(2)(A)(vii)(IV) (a “Paragraph IV Certification”) that the Patents-in-

Suit are invalid, unenforceable, and/or will not be infringed by the commercial manufacture, use,

offer for sale, sale, and/or importation of the Proposed ANDA Product.

               Defendants were aware of the Patents-in-Suit when they submitted ANDA No.

213442 with a Paragraph IV Certification.

               On information and belief, ivabradine is the active ingredient in the Proposed

ANDA Product.

               On information and belief, ANDA No. 213442 refers to and relies upon the NDA

for Corlanor® (ivabradine) and contains data that, according to Defendants, demonstrate the

bioequivalence of the Proposed ANDA Product and Corlanor® (ivabradine). See 21 U.S.C.

§ 355(j)(2); 21 C.F.R. § 314.94(a)(7).

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               On information and belief, the active ingredient in the Proposed ANDA Product—

ivabradine—exhibits a patented crystalline form.

               On information and belief, Defendants intend to have healthcare providers use their

Proposed ANDA Product, if approved, as set forth in their Proposed ANDA Product label. On

information and belief, Defendants’ Proposed ANDA Product label will instruct healthcare

providers to prescribe their Proposed ANDA Product in the manner set forth in the label.

               On information and belief, the FDA has not yet approved ANDA No. 213442.

               Plaintiffs commenced this action within 45 days of receipt of the Notice Letter.

               Defendants’ Notice Letter included an Offer of Confidential Access.

               Between December 26, 2019 and January 7, 2020, Amgen and the Defendants

negotiated and reached an agreement to modify the Offer of Confidential Access.

               On January 8, 2020, Defendants produced documents purportedly from their

ANDA No. 213442.

               COUNT I: INFRINGEMENT OF U.S. PATENT NO. 7,361,649

               Plaintiffs hereby reallege and incorporate the allegations of paragraphs 1 – 39 of

this Complaint.

               On information and belief, the Proposed ANDA Product infringes one or more

claims of the ’649 Patent, either literally or under the doctrine of equivalents, by the use and/or

presence in the Proposed ANDA Product of an ivabradine crystalline form as covered by one or

more of the claims of the ’649 Patent.

               Defendants’ submission of ANDA No. 213442 to the FDA under 21 U.S.C. § 355(j)

for the purpose of obtaining approval to commercially manufacture, use, offer for sale, sell, and/or




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import the Proposed ANDA Product before the expiration of the ’649 Patent constitutes

infringement of the ’649 Patent under 35 U.S.C. § 271(e)(2).

               On information and belief, Defendants plan to, intend to, and will commercially

manufacture, use, offer for sale, sell, and/or import the Proposed ANDA Product immediately

upon approval of ANDA No. 213442 and will instruct healthcare providers to use the Proposed

ANDA Product in accordance with the proposed product labeling.

               On information and belief, upon FDA approval of ANDA No. 213442, Defendants

will infringe the ’649 Patent by making, using, offering to sell, selling, and/or importing the

Proposed ANDA Product in the United States, and by actively inducing and/or contributing to

infringement by others under 35 U.S.C. § 271(b) and/or (c).

               On information and belief, Defendants had knowledge of the ’649 Patent when they

submitted ANDA No. 213442 to the FDA, Defendants knew or should have known that they will

induce or contribute to another’s direct infringement of the ’649 Patent, and Defendants acted with

the specific intent to induce or contribute to another’s direct infringement of the ’649 Patent.

               To date, Plaintiffs have not received sufficient information, materials, and things

from Defendants to enable Plaintiffs to meaningfully evaluate the bases for Defendants’ assertion

of non-infringement of the ’649 Patent.

               In the absence of the ability to meaningfully evaluate information related to

Defendants’ ANDA No. 213442, Plaintiffs resort to the judicial process and the aid of discovery

to obtain under appropriate judicial safeguards such information as is required to confirm their

belief and to present to the Court evidence that Defendants infringe one or more claims of the ’649

Patent.




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                 Plaintiffs will be substantially and irreparably harmed by the infringing activities

described above unless those activities are enjoined by this Court. Plaintiffs have no adequate

remedy at law.

              COUNT II: INFRINGEMENT OF U.S. PATENT NO. 7,361,650

                 Plaintiffs hereby reallege and incorporate the allegations of paragraphs 1 – 48 of

this Complaint.

                 On information and belief, the Proposed ANDA Product infringes one or more

claims of the ’650 Patent, either literally or under the doctrine of equivalents, by the use and/or

presence in the Proposed ANDA Product of an ivabradine crystalline form as covered by one or

more of the claims of the ’650 Patent.

                 Defendants’ submission of ANDA No. 213442 to the FDA under 21 U.S.C. § 355(j)

for the purpose of obtaining approval to commercially manufacture, use, offer for sale, sell, and/or

import the Proposed ANDA Product before the expiration of the ’650 Patent constitutes

infringement of the ’650 Patent under 35 U.S.C. § 271(e)(2).

                 On information and belief, Defendants plan to, intend to, and will commercially

manufacture, use, offer for sale, sell, and/or import the Proposed ANDA Product immediately

upon approval of ANDA No. 213442 and will instruct healthcare providers to use the Proposed

ANDA Product in accordance with the proposed product labeling.

                 On information and belief, upon FDA approval of ANDA No. 213442, Defendants

will infringe the ’650 Patent by making, using, offering to sell, selling, and/or importing the

Proposed ANDA Product in the United States, and by actively inducing and/or contributing to

infringement by others under 35 U.S.C. § 271(b) and/or (c).




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                 On information and belief, Defendants had knowledge of the ’650 Patent when they

submitted ANDA No. 213442 to the FDA, Defendants knew or should have known that they will

induce or contribute to another’s direct infringement of the ’650 Patent, and Defendants acted with

the specific intent to induce or contribute to another’s direct infringement of the ’650 Patent.

                 To date, Plaintiffs have not received sufficient information, materials, and things

from Defendants to enable Plaintiffs to meaningfully evaluate the bases for Defendants’ assertion

of non-infringement of the ’650 Patent.

                 In the absence of the ability to meaningfully evaluate information related to

Defendants’ ANDA No. 213442, Plaintiffs resort to the judicial process and the aid of discovery

to obtain under appropriate judicial safeguards such information as is required to confirm their

belief and to present to the Court evidence that Defendants infringe one or more claims of the ’650

Patent.

                 Plaintiffs will be substantially and irreparably harmed by the infringing activities

described above unless those activities are enjoined by this Court. Plaintiffs have no adequate

remedy at law.

              COUNT III: INFRINGEMENT OF U.S. PATENT NO. 7,867,996

                 Plaintiffs hereby reallege and incorporate the allegations of paragraphs 1 – 57 of

this Complaint.

                 On information and belief, the Proposed ANDA Product infringes one or more

claims of the ’996 Patent, either literally or under the doctrine of equivalents, by the use and/or

presence in the Proposed ANDA Product of an ivabradine crystalline form as covered by one or

more of the claims of the ’996 Patent.




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               Defendants’ submission of ANDA No. 213442 to the FDA under 21 U.S.C. § 355(j)

for the purpose of obtaining approval to commercially manufacture, use, offer for sale, sell, and/or

import the Proposed ANDA Product before the expiration of the ’996 Patent constitutes

infringement of the ’996 Patent under 35 U.S.C. § 271(e)(2).

               On information and belief, Defendants plan to, intend to, and will commercially

manufacture, use, offer for sale, sell, and/or import the Proposed ANDA Product immediately

upon approval of ANDA No. 213442 and will instruct healthcare providers to use the Proposed

ANDA Product in accordance with the proposed product labeling.

               On information and belief, upon FDA approval of ANDA No. 213442, Defendants

will infringe the ’996 Patent by making, using, offering to sell, selling, and/or importing the

Proposed ANDA Product in the United States, and by actively inducing and/or contributing to

infringement by others under 35 U.S.C. § 271(b) and/or (c).

               On information and belief, Defendants had knowledge of the ’996 Patent when they

submitted ANDA No. 213442 to the FDA, Defendants knew or should have known that they will

induce or contribute to another’s direct infringement of the ’996 Patent, and Defendants acted with

the specific intent to induce or contribute to another’s direct infringement of the ’996 Patent.

               To date, Plaintiffs have not received sufficient information, materials, and things

from Defendants to enable Plaintiffs to meaningfully evaluate the bases for Defendants’ assertion

of non-infringement of the ’996 Patent.

               In the absence of the ability to meaningfully evaluate information related to

Defendants’ ANDA No. 213442, Plaintiffs resort to the judicial process and the aid of discovery

to obtain under appropriate judicial safeguards such information as is required to confirm their




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belief and to present to the Court evidence that Defendants infringe one or more claims of the ’996

Patent.

                 Plaintiffs will be substantially and irreparably harmed by the infringing activities

described above unless those activities are enjoined by this Court. Plaintiffs have no adequate

remedy at law.

              COUNT IV: INFRINGEMENT OF U.S. PATENT NO. 7,879,842

                 Plaintiffs hereby reallege and incorporate by reference the allegations of paragraphs

1 – 66 of this Complaint.

                 On information and belief, the Proposed ANDA Product infringes one or more

claims of the ’842 Patent, either literally or under the doctrine of equivalents, by the use and/or

presence in the Proposed ANDA Product of an ivabradine crystalline form as covered by one or

more of the claims of the ’842 Patent.

                 Defendants’ submission of ANDA No. 213442 to the FDA under 21 U.S.C. § 355(j)

for the purpose of obtaining approval to commercially manufacture, use, offer for sale, sell, and/or

import the Proposed ANDA Product before the expiration of the ’842 Patent constitutes

infringement of the ’842 Patent under 35 U.S.C. § 271(e)(2).

                 On information and belief, Defendants plan to, intend to, and will commercially

manufacture, use, offer for sale, sell, and/or import the Proposed ANDA Product immediately

upon approval of ANDA No. 213442 and will instruct healthcare providers to use the Proposed

ANDA Product in accordance with the proposed product labeling.

                 On information and belief, upon FDA approval of ANDA No. 213442, Defendants

will infringe the ’842 Patent by making, using, offering to sell, selling, and/or importing the




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Proposed ANDA Product in the United States, and by actively inducing and/or contributing to

infringement by others under 35 U.S.C. § 271(b) and/or (c).

                 On information and belief, Defendants had knowledge of the ’842 Patent when they

submitted ANDA No. 213442 to the FDA, Defendants knew or should have known that they will

induce or contribute to another’s direct infringement of the ’842 Patent, and Defendants acted with

the specific intent to induce or contribute to another’s direct infringement of the ’842 Patent.

                 To date, Plaintiffs have not received sufficient information, materials, and things

from Defendants to enable Plaintiffs to meaningfully evaluate the bases for Defendants’ assertion

of non-infringement of the ’842 Patent.

                 In the absence of the ability to meaningfully evaluate information related to

Defendants’ ANDA No. 213442, Plaintiffs resort to the judicial process and the aid of discovery

to obtain under appropriate judicial safeguards such information as is required to confirm their

belief and to present to the Court evidence that Defendants infringe one or more claims of the ’842

Patent.

                 Plaintiffs will be substantially and irreparably harmed by the infringing activities

described above unless those activities are enjoined by this Court. Plaintiffs have no adequate

remedy at law.

                                      PRAYER FOR RELIEF

          WHEREFORE, Plaintiffs respectfully request that this Court grant the following relief:

                 a)      Judgment that Defendants’ submission of ANDA No. 213442 to the FDA

          was an act of infringement of one or more claims of the ’649, ’650, ’996, and ’842 Patents

          under 35 U.S.C. § 271(e)(2);




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                b)   Judgment that Defendants’ making, using, offering to sell, selling, or

      importing into the United States of the Proposed ANDA Product prior to the expiration of

      the ’649, ’650, ’996, and ’842 Patents, will infringe, will actively induce infringement,

      and/or will contribute to the infringement of one or more claims of those Patents;

                c)   An Order pursuant to 35 U.S.C. § 271(e)(4)(A) providing that the effective

      date of any FDA approval of ANDA No. 213442 shall be a date that is not earlier than the

      expiration of the ’649, ’650, ’996, and ’842 Patents plus any other exclusivity to which

      Plaintiffs are or become entitled;

                d)   An Order permanently enjoining Defendants, Defendants’ affiliates and

      subsidiaries, each of its officers, agents, servants and employees, and any person acting in

      concert with Defendants, from making, using, offering to sell, selling, or importing into the

      United States the Proposed ANDA Product until after the expiration of the ’649, ’650, ’996,

      and ’842 Patents plus any other exclusivity to which Plaintiffs are or become entitled;

                e)   A declaration that this case is exceptional within the meaning of 35 U.S.C.

      § 285 and an award of reasonable attorneys’ fees, expenses, and disbursements of this

      action;

                f)   An award of Plaintiffs’ reasonable costs and expenses in this action; and

                g)   Such further and other relief as this Court deems proper and just.




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 OF COUNSEL:                                    Respectfully submitted,

 Lisa B. Pensabene                         By: s/ Liza M. Walsh
 Hassen Sayeed                                 Liza M. Walsh
 Daniel O’Boyle                                Marc D. Haefner
 Carolyn Wall                                  WALSH PIZZI O’REILLY FALANGA LLP
 James Li                                      Three Gateway Center
 Amanda Hoffman                                100 Mulberry Street, 15th Floor
 O’MELVENY & MYERS LLP                         Newark, New Jersey 07102
 7 Times Square                                (973) 757-1100
 New York, New York 10036
 (212) 326-2000                                 Attorneys for Plaintiffs
                                                Amgen Inc. and Les Laboratoires Servier
 Attorneys for Plaintiffs
 Amgen Inc. and Les Laboratoires Servier        Dated: January 21, 2020

 Wendy A. Whiteford
 Steven T. Tang
 James A. High Jr.
 AMGEN INC.
 One Amgen Center Drive
 Thousand Oaks, CA 91320-1789
 (805) 447-1000

 Attorneys for Plaintiff
 Amgen Inc.




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                                   RULE 201.1 CERTIFICATION

        I hereby certify that the above-captioned matter is not subject to compulsory arbitration

in that the Plaintiffs seek, inter alia, injunctive relief.




 OF COUNSEL:                                             Respectfully submitted,

 Lisa B. Pensabene                                  By: s/ Liza M. Walsh
 Hassen Sayeed                                          Liza M. Walsh
 Daniel O’Boyle                                         Marc D. Haefner
 Carolyn Wall                                           WALSH PIZZI O’REILLY FALANGA LLP
 James Li                                               Three Gateway Center
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 New York, New York 10036
 (212) 326-2000                                          Attorneys for Plaintiffs
                                                         Amgen Inc. and Les Laboratoires Servier
 Attorneys for Plaintiffs
 Amgen Inc. and Les Laboratoires Servier                 Dated: January 21, 2020

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 Attorneys for Plaintiff
 Amgen Inc.




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                                  RULE 11.2 CERTIFICATION

        U.S. Patent Nos. 7,361,649 (“the ’649 Patent”), 7,361,650 (“the ’650 Patent”), 7,867,996

(“the ’996 Patent”), and 7,879,842 (“the ’842 Patent”) are the subject of the pending action in the

United States District Court for the District of Delaware: Amgen Inc. et al v. Zydus

Pharmaceuticals (USA) Inc., Civil Action No. 20-cv-00075.

        I hereby certify that, to the best of my knowledge, the matter in controversy is not the

subject of any other pending or anticipated litigation in any court or arbitration proceeding, nor are

there any non-parties known to Plaintiffs that should be joined to this action. In addition, I

recognize a continuing obligation during the course of this litigation to file and to serve on all other

parties and with the Court an amended certification if there is a change in the facts stated in this

original certification.




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 OF COUNSEL:                                       Respectfully submitted,
 Lisa B. Pensabene
                                                By: s/ Liza M. Walsh
 Hassen Sayeed
                                                    Liza M. Walsh
 Daniel O’Boyle
                                                    Marc D. Haefner
 Carolyn Wall
                                                    WALSH PIZZI O’REILLY FALANGA LLP
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                                                   Attorneys for Plaintiffs
                                                   Amgen Inc. and Les Laboratoires Servier
 Attorneys for Plaintiffs
 Amgen Inc. and Les Laboratoires Servier
                                                   Dated: January 21, 2020

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 Attorneys for Plaintiff
 Amgen Inc.




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